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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 _________________________________________
                                          )
IN RE APPLICATION OF USA PURSUANT         )                 ML No: __________
TO 18 U.S.C. § 3512 FOR ORDER FOR         )
COMMISSIONER’S APPOINTMENT FOR            )
A TAX EVASION INVESTIGATION               )
                                          )
__________________________________________)

Reference:     DOJ Ref. # CRM-182-66105

              APPLICATION OF THE UNITED STATES FOR AN ORDER
       FOR A COMMISSIONER’S APPOINTMENT PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Teresita B. Mutton, Trial Attorney, Office of International

Affairs, Criminal Division, U.S. Department of Justice (or a substitute or successor subsequently

designated by the Office of International Affairs), as a commissioner to collect evidence and to

take such other action as is necessary to execute this and any subsequent, supplemental requests

for assistance with the above-captioned criminal matter from Brazil. In support of this

application, the United States asserts:

                                          RELEVANT FACTS

       1.      The Central Authority of Brazil, the Ministry of Justice, submitted a request for

assistance (the Request) to the United States, pursuant to the Treaty Between the Government of

the United States of America and the Government of the Federative Republic of Brazil on

Mutual Legal Assistance in Criminal Matters, U.S.-Braz., Oct. 14, 1997, S. TREATY DOC. NO.

105-42 (1998) (the Treaty). As stated in the Request, the Federal Prosecution Office for Rio de

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Janeiro in Brazil is investigating Joaquim Teixeira da Silva (Teixeira da Silva) for tax evasion

and money laundering, which occurred between in or about 2000 and 2002, in violation of the

criminal law of Brazil, specifically, Article 22 of Law 7492/1986 and Article 1 of Law

9613/1998, respectively. Under the Treaty, the United States is obligated to assist in response to

the Request.

       2.      According to Brazilian authorities, Brazilian tax authorities (RFB), together with

the Brazilian Federal Police, began investigating a group of individuals that were using secret

bank accounts held in the United States and abroad, to illegally transfer money out of Brazil in

an effort to evade taxes. Over the course of this larger investigation, the Brazilian Federal Police

identified transfers of money to foreign bank accounts being made by or on behalf of Brazilian

nationals, which the RFB confirmed had never been reported to Brazilian tax authorities, as

required under Brazilian law.

       3.      Two of these unreported transactions involved Teixeira da Silva, the legal

representative of a Brazilian travel agency Oito Zero Turismo Ltda. The first transaction

involved the transfer of a total of US$200,000 on or about August 28, 2000, from sub-account

number XX1012, held at JP Morgan Chase Bank in New York, to an account held in Lisbon,

Portugal by Teixeira da Silva at the International Division Bank.

       4.      Transaction records indicate that account number XX1012 was held in the name

of Pescara, but managed by Beacon Hill Service Corporation (BHSC) on behalf of Armando

Sontone and Rui Luis da Luz Leite de Souza. Records further indicate that Oito Zero Turismo

Ltda ordered the transfer of funds. Therefore, Brazilian authorities believe that Teixeira da

Silva, as Oito Zero’s Turismo Ltda. legal representative, was an authorized user of account

number XX1012.



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        5.      The second transaction involved the transfer of a total of US$360,000 on or about

November 27, 2002, from an account held by Teixeira da Silva in Lisbon, Portugal at Banco

Comercial Portuges to account number XXXXX5055, held at JP Morgan Chase Bank.

Transaction records indicate that like account number XX1012, account XXXXX5055 was also

managed by BHSC, although Brazilian authorities have not been able to identify the named

holder of account XXXXX5055.

        6.      To further the investigation, Brazilian authorities request assistance from U.S.

authorities in obtaining bank records from JP Morgan Chase Bank pertaining to (1) account

number XXXXX5055, managed by BHSC; (2) sub-account number XX1012, held in the name

of Pescara (and managed by BHSC); and/or (3) any related accounts held by or for the benefit of

Joaquim Teixiera da Silva and/or Oito Zero Turismo LTDA.

                                      LEGAL BACKGROUND

        7.      A treaty1 constitutes the law of the land. U.S. Const. art. VI, cl. 2. The

provisions of a treaty have equal footing with acts of Congress and are binding on the courts.

See Asakura v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103

(1801); United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a

treaty should be construed liberally “to give effect to the purpose which animates it.” United

States v. Stuart, 489 U.S. 353 (386) (1989) (internal quotations marks omitted). To the extent

that the provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty

supersedes the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).




1
 The term “Treaty” used herein encompasses bilateral treaties, multilateral conventions, instruments, and
protocols.
                                                   3
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       8.      The United States and Brazil entered into the Treaty to promote more effective

judicial cooperation and assistance between the parties in criminal matters. See Treaty pmbl.

The Treaty obligates each party, upon request, to provide assistance to the other in criminal

investigations, prosecutions, and related proceedings, including assistance in serving documents,

obtaining testimony, statements, records, and executing searches and seizures. Article 1(2). In

addition, the Treaty, like 18 U.S.C. § 3512, authorizes federal courts to use compulsory measures

to further the execution of such requests. Article 5 (“The Courts of the Requested state shall

issue subpoenas, search warrants, or other orders necessary to execute the request.”)

       9.      When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

       Upon application, duly authorized by an appropriate official of the Department of
       Justice, of an Attorney for the Government, a Federal judge may issue such orders
       as may be necessary to execute a request from a foreign authority for assistance in
       the investigation or prosecution of criminal offenses, or in proceedings related to
       the prosecution of criminal offenses, including proceedings regarding forfeiture,
       sentencing, and restitution.

                       *                     *                      *

       [A]n application for execution of a request from a foreign authority under this
       section may be filed . . . in the District of Columbia.

                       *                     *                      *

       The term “foreign authority” means a foreign judicial authority, a foreign
       authority responsible for the investigation or prosecution of criminal offenses or
       for proceedings related to the prosecution of criminal offenses, or an authority
       designated as a competent authority or central authority for the purpose of making
       requests for assistance pursuant to an agreement or treaty with the United States
       regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).


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        10.     Congress enacted this section to make it “easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme.” 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086. 2 This section provides clear authority for the federal courts, upon application duly

authorized by an appropriate official of the Department of Justice, to issue orders that are

necessary to execute a foreign request.

        11.     An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs 3 has reviewed and authorized the request, and

executes the request itself or delegates execution to another attorney for the government. 4 Upon

such a duly authorized application, Section 3512 authorizes a federal judge 5 to issue “such orders

as may be necessary to execute [the] request,” including: (1) search warrants under Fed. R.



2
  Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the “commissioner” process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were executed prior to enactment of section 3512); see also Intel Corp. v. Advanced Micro Devices, Inc.,
542 U.S. 241, 247-49 (2004) (describing history of Section 1782). When enacting Section 3512,
Congress anticipated that improved U.S. handling of foreign requests would ensure reciprocity in
response to U.S. requests for assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093
(2009) (statement of Rep. Schiff).

3
 The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the “Central Authority” under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and 81C (2018).

4
 “Section 3512 can be invoked only when authorized by OIA. . . . Such authorization occurs when an
attorney for the government, or his or her office, receives the referral of the request for execution from
OIA.” Memorandum from the Deputy Attorney General to Department of Justice Components (May 16,
2011) (on file with the Office of International Affairs).
5
 The term “federal judge” includes a magistrate judge. See 18 U.S.C. § 3512(h)(1); Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).
                                                     5
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Crim. P. 41; (2) orders for electronic records under 18 U.S.C. § 2703; (3) orders for pen registers

or trap and trace devices under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the

taking of testimony or statements and/or the production of documents or other things. See 18

U.S.C. § 3512(a)(1)--(b)(1). In addition, a federal judge may order any necessary procedures to

facilitate the execution of the request, including any procedures requested by the foreign

authority to facilitate its use of the evidence. 18 U.S.C. § 3512(a)(1).

        12.     Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents. The appointed person has authority

to: (1) issue an order requiring a person to appear and/or produce documents or other things; (2)

administer any necessary oaths; and (3) take testimony or statements and receive documents or

other things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents

or other things, the person appointed, commonly referred to as the “commissioner,” typically

uses a subpoena entitled “Commissioner’s Subpoena.” Any such subpoena may be served or

executed anywhere in the United States. 18 U.S.C. § 3512(f). A sample “Commissioner’s

Subpoena” is included as Attachment A.

                                      REQUEST FOR ORDER

        13.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence and to take such other action as is

necessary to execute the Request has been “duly authorized” within the meaning of Section

3512. In addition, the Request was submitted by an appropriate “foreign authority,” the Ministry

of Justice, the designated Central Authority in Brazil and seeks assistance in the investigation of

tax evasion and money laundering – criminal offenses in Brazil. The requested Order is



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necessary to execute the Request, and the assistance requested, i.e., the production of bank

records, falls squarely within that contemplated by Section 3512 and the Treaty. Finally, this

application was properly filed in the District of Columbia.

       14.     This application is being made ex parte, consistent with U.S. practice in its

domestic criminal matters.

       15.     When executing a foreign request for assistance in a criminal matter, both Section

3512 and the Treaty authorize the use of compulsory process comparable to that used in

domestic criminal investigations and/or prosecutions. Because subpoenas utilized in U.S.

criminal proceedings (i.e., grand jury and criminal trial subpoenas) are issued without notice to

any person other than the recipient (i.e., no notice to targets or defendants), orders and

commissioner subpoenas issued in execution of a foreign request pursuant to Section 3512 and

the applicable treaty likewise should require no notice other than to the recipients. This is true

even if the Requesting State, as here, seeks financial records, because the Right to Financial

Privacy Act, 12 U.S.C. §§ 3401 et seq., including its notice provisions, does not apply to the

execution of foreign requests for legal assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633,

639 (2d Cir. 1989), cert. denied, 493 U.S. 1072 (1990); In re Letters of Request from the

Supreme Court of Hong Kong, 821 F. Supp. 204, 211 (S.D.N.Y. 1993); In re Letter of Request

for Judicial Assistance from the Tribunal Civil de Port-Au-Prince, Republic of Haiti, 669 F.

Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this Court should authorize a commissioner to

collect the evidence requested without notice to any person other than the recipient(s) of any

given commissioner subpoena.

       16.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Teresita B.



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Mutton, Trial Attorney, Office of International Affairs (or a substitute or successor subsequently

designated by the Office of International Affairs) as a commissioner, authorizing the undersigned

to take the actions necessary, including the issuance of commissioner’s subpoenas, as needed, to

collect the evidence necessary to execute any pending request for assistance and any subsequent

supplemental requests in connection with the same matter, to do so in a manner consistent with

the intended use of the evidence.

                                             Respectfully submitted,

                                             VAUGHN A. ARY
                                             DIRECTOR
                                             OFFICE OF INTERNATIONAL AFFAIRS
                                             OK Bar Number 12199



                                      By:    ____________________________
                                             Teresita B. Mutton
                                             Trial Attorney
                                             District of Columbia Bar Number 983152
                                             Office of International Affairs
                                             Criminal Division, Department of Justice
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                      ATTACHMENT A
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                          )
IN RE APPLICATION OF USA PURSUANT         )
TO 18 U.S.C. § 3512 FOR ORDER FOR         )
COMMISSIONER’S APPOINTMENT FOR            )
[Insert Nature of Case/Investigation]     )
                                          )
__________________________________________)

Reference:     [Insert DOJ#]
(Please repeat when responding.)

                                COMMISSIONER’S SUBPOENA

TO: [Insert Name of Entity]

       I, Commissioner [Insert Attorney Name], Trial Attorney, Office of International Affairs,

Criminal Division, U.S. Department of Justice, acting pursuant to 18 U.S.C. § 3512, and this

Court’s Order signed on [Insert Date], for the purpose of rendering assistance to [Insert

Country], command that you provide the following documents regarding (an) alleged

violation(s) of the laws of [Insert Country]; specifically, [Insert Name of Offense(s), in violation

of Section [Insert Number] of the [Insert Country Adjective] [Criminal][Penal] Code.

       Provide records to International Affairs Specialist [Insert Name] by emailing them to

[Insert Email Address] or by mailing via FedEx either a paper copy of the records or any

commonly used digital storage device loaded with the files to the following mailing address by

__________, 20__:

       [Insert IAS Name, Mailing Address, Email Address, and Telephone Number]
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       For failure to provide records [If Applicable Add: and/or appear for testimony], you

may be deemed guilty of contempt and liable to penalties under the law.


Date: _____________                                ________________________________
                                                   COMMISSIONER
                                                   [Insert Name]
                                                   Trial Attorney
                                                   Office of International Affairs
                                                   Criminal Division, Department of Justice
                                                   1301 New York Avenue, N.W., Suite 800
                                                   Washington, D.C. 20530
                                                   (202) [Insert Number]
                                                   [Insert Email Address]




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